        Case 1:18-cr-00258-BLW Document 281 Filed 07/19/19 Page 1 of 2




                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                                  Case No. 1:18-CR-00258-BLW
                      Plaintiff,
                                                  ORDER SETTING NEW TRIAL
         v.                                       DATE

 PAVEL BABICHENKO, GENNADY
 BABICHENKO, PIOTR
 BABICHENKO, TIMOFEY
 BABICHENKO, KRISTINA
 BABICHENKO, NATALIE
 BABICHENKO, DAVID BIBIKOV,
 ANNA IYERUSALIMETS, MIKHAIL
 IYERUSALIMETS, ARTUR PUPKO,

                      Defendants.



       On July 18, 2019, the Court held a telephonic status conference with counsel for

all parties in this matter. During the conference, the Court indicated its intent to adopt a

new trial date proposed by Defendants—October 6, 2019.

       This Court has previously found that this case is sufficiently complex such that the

Speedy Trial Act’s typical seventy-day clock does not apply. (Dkt. 157.) Trial is currently

set for July 29, 2019. (Dkt. 162.) Although the Speedy Trial Act’s time restrictions do not

apply, the Court intends to continue to move this case swiftly to trial. Consistent with that



ORDER SETTING NEW TRIAL DATE – 1
        Case 1:18-cr-00258-BLW Document 281 Filed 07/19/19 Page 2 of 2



decision, the Court has continued to apply 18 U.S.C. § 3161(h)(7)(B)(iv)’s excludable

time inquiry. (Dkt. 159.)

       Accordingly, considering the need to balance of the speedy trial mandate and the

need for defendants to have adequate time to prepare a defense, and considering also the

discussions and agreement reached during the July 18, 2019 conference, the Court will

reset the trial to begin October 5, 2020 at 1:30 p.m. at the United States Courthouse in

Boise, Idaho.

       IT IS SO ORDERED.
                                                        DATED: July 19, 2019


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                                                        B. Lynn Winmill
                                                        United States District Judge




ORDER SETTING NEW TRIAL DATE – 2
